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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                         :
 UNITED STATES OF AMERICA,               :                20cr052 (DLC)
                                         :
                 -v-                     :                     ORDER
                                         :
 HERMAN STEWARD,                         :
                        Defendant.       :
                                         :
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DENISE COTE, District Judge:

     Having received the Government’s letter of October 20, 2020

regarding the defendant’s medical condition, it is hereby

     ORDERED that the Government’s letter of October 20 shall be

sealed.

     IT IS FURTHER ORDERED that the Government shall submit a

further status report on the defendant’s medical condition no

later than November 6, 2020.


Dated:       New York, New York
             October 21, 2020

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                                             DENISE COTE
                                     United States District Judge
